
Appeal from an order of the Family Court, Genesee County (Eric R. Adams, J.), entered January 8, 2015 in a proceeding pursuant to Family Court Act article 6. The order, among other things, adjudged that Rosemarie Sero shall continue to have sole custody of the subject children.
It is hereby ordered that the order so appealed from is unanimously affirmed without costs.
Memorandum: We affirm for reasons stated in the decision at Family Court. We add only that, even assuming, arguendo, that the court erred in admitting in evidence a document concerning the criminal history of petitioner-respondent’s husband, we conclude that the error is harmless “because the record otherwise contains ample admissible evidence to support the court’s determination” (Matter of Matthews v Matthews, 72 AD3d 1631, 1632 [2010], lv denied 15 NY3d 704 [2010]).
Present — Carni, J.P., Lindley, NeMoyer, Troutman and Scudder, JJ.
